                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

    Z.J.,
    Plaintiff,                                        Case No. 3:17-cv-0936

    v.                                                Judge Crenshaw

    THE VANDERBILT UNIVERSITY,                        Magistrate Judge Holmes
    Defendant.


                                             ORDER

          By the initial case management order entered May 29, 2018, Docket Entry No. 39, a

subsequent case management conference was scheduled for October 24, 2018, at 11:00. Due to

a conflict in the Court’s calendar, and with the agreement of counsel, the subsequent case

management conference is RESCHEDULED for Tuesday, November 27, 2018, at 10:00 a.m.

in Courtroom 764, U.S. Courthouse, 801 Broadway, Nashville, Tennessee.                  This case

management conference shall be to address: setting of deadlines reserved in the initial case

management order and selection of a target trial date1; status of discovery (including any known

or anticipated discovery disputes); prospect for settlement (including propriety of ADR); and,

any other appropriate matters. By no later than 2 business days prior to the subsequent case

management conference, the parties shall file a joint proposed modified case management order

that proposes deadlines for all of the case management scheduling reserved herein and includes a

proposed target trial date with anticipated number of trial days.

     It is SO ORDERED.

                                              ___________________________________
                                              BARBARA D. HOLMES
                                              United States Magistrate Judge

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        The parties are reminded that their proposed target trial date must be within three years
from the date of commencement of this case (in this Court), and to propose reserved case
management deadlines that also accommodate this timing.
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